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Exhibit C
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Int. Cl: 35
Prior U.S. Cls.: 100, 101, and 102
7 7 Reg. No. 2,646,848
United States Patent and Trademark Office Registered Nov. 5, 2002
SERVICE MARK
PRINCIPAL REGISTER

NORTHWEST AIRLINES WORLDPERKS MALL

NORTHWEST AIRLINES, INC. (MINNESOTA
CORPORATION)

5101 NORTHWEST DRIVE

ST. PAUL, MN 551113034

FOR: INCENTIVE AWARD PROGRAMS, NAME-
LY, PROMOTING THE GOODS AND SERVICES OF
OTHERS BY AWARDING FREQUENT FLYER
MILES, IN CLASS 35 (U.S. CLS. 100, 101 AND 102).

FIRST USE 12-15-2000; IN COMMERCE 12-15-2000.

OWNER OF U.S. REG. NOS. 2,147,896, 2,302,817,
AND OTHERS.

NO CLAIM IS MADE TO THE EXCLUSIVE
RIGHT TO USE "AIRLINES", APART FROM THE
MARK AS SHOWN,

SN 76-183,828, FILED 12-20-2000.

KEVON CHISOLM, EXAMINING ATTORNEY
